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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11
     ALEJANDRO RODRIGUEZ, et al.,              ) Case No. CV 07-3239-TJH (RNBx)
12                                             )
                  Petitioners,                 )
13                                             )
           vs.                                 ) [PROPOSED] ORDER RE
14                                             ) SCHEDULING AND BRIEFING FOR
     TIMOTHY S. ROBBINS, in his                ) DISPOSITIVE MOTIONS
15   capacity as U.S. Immigration and          )
     Customs Enforcement, Los Angeles          )
16   District Field Office Director, et al.,   ) Hon. Terry J. Hatter, Jr.
                                               )
17                                             )
                  Respondents.                 )
18                                             )
19
           This matter comes before this Court on the parties’ joint stipulation and request
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     for the entry of an order regarding scheduling and briefing for dispositive motions in
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     this action. The Court having found that the parties agree to the following schedule
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     and that good cause exists for issuance of a scheduling order governing dispositive
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     motions, it is
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25         HEREBY ORDERED that the following dates shall govern dispositive motions
26   in this action as follows:
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 1         Dispositive motions: The Petitioners shall file any dispositive motion on or
 2   before February 8, 2013. The Respondents shall file any response to Petitioner’s
 3   dispositive motion, and any dispositive cross-motion, on or before March 15, 2013.
 4   The Petitioners shall file any reply in support of their dispositive motion, and any
 5   response to a dispositive cross-motion, on or before April 5, 2013. The Respondents
 6   shall file any reply in support of a dispositive motion by April 19, 2013. The motion
 7   date shall be noticed for May 6, 2013, on any dispositive motion. There shall be no
 8   modifications to the briefing schedule absent extraordinary circumstances.
 9         It is further HEREBY ORDERED that the dispositive motions shall conform to
10   brief lengths as follows:
11         Briefing for dispositive motions: The brief length for Petitioners’ dispositive
12   motion shall be not more than 50 pages. The brief length for Respondents’ opposition
13   and cross-motion shall be not more than 55 pages. The brief length for Petitioners’
14   opposition and reply shall be not more than 50 pages. The brief length for
15   Respondents’ reply shall be not more than 30 pages.
16

17   Dated: January ___, 2013         ________________________________________
                                      TERRY J. HATTER, JR.
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                                      United States District Judge
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